                                 Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 1 of 8 PageID #:384
ILND 2458 (Rcv. 02/15).ludgnrent in          a   Crinrinal   Case
Sheet       I

DEFE,NDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: I3 CR 328-1

                                             UNITED STATES DISTRICT COTJRT
                                                                      Northern District of Illinois


                         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                    v.

                                   Abdella Ahmad Tounisi                                  Case Number:            r3 cR 328-l

                                                                                          USM Nurnber:            43301-424



                                                                                          Molly Armour and Patrick W. Blegen
                                                                                          Del'endant's Atlorney


THE DEFENDANT:
I         pleaded guilty to count(s) One (l) of the Indictment
!         pleaded nolo contendere to count(s)         which was accepted by the court.
I         was found guilty on count(s)        after a plea of not guilty.

The defendant is adjudicated guilty of these ofTenses:
Title & Sectidn                                       Nature of Offense                                               Offense Ended        Count
t   S;   i [Jit Srt-,r rfi il$S]E{$X   U


                                                                               t;l:                                   I ,,;iiiilLri iI


                                                                                                                    L;);;:;r:irii   ti
                                                                                                                    iii;iii ii       t:r




Thedefendantissentencedasprovidedinpages2throughSofthisjudgment. ThesentenceisimposedpursuanttotheSentencingReform
Act        of   1984.

!         fne defendant          has been found not guilty on count(s)

[l        Coun(s) Two is disrnissed on the motion of the Unired Srates.
It is ordered that the defendant rnust notify the United States attomey for this district within 30 days of any change of name, residence, or
mailingaddressuntil all fines,restitution,costs,andspecial assessmentsimposedbythisjudgmentarefullypaid. Iforderedtopay
restitution, the defendant rnust notity the court and United States attorney of materiil changei in economic circumstances.


                                                                                              t0lt9l20t7
                                                                                              Date of Imposition of   J




                                                                                              Samuel Der-Yeghiayan
                                                                                              U.S. District Judge
                                                                                              Name and Title of judge



                                                                                              ,/o- zl- /7
                       Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 2 of 8 PageID #:385
ILND 2458 (Rev. 08/02/201 6) Judgnrent in   a   Criminal Case
    - [mprisonment
Sheet 2                                                                                                                                     .ludsment   - Paee 2 of 8
DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: 13 CR 328-l
                                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
180 months on Count l.


I    fne court makes the following recommendations to the Bureau of Prisons: The defendant to be imprisoned                       at a facility as close to
     Chicago as possible.

I    fne defendant      is remanded to the custody of the United States Marshal.

E    fne defendant shall surrender to the United                States Marshal for this district:

          nut               on

     !    as   notified by the United States Marshal.
     E    fne defendant shall surrender for service of sentence                at the institution designated by the Bureau of Prisons:

          f]    before 2:00 pm on

          I     as   notified by the United States Marshal.
          !     as   notified by the Probation or Pretrial Services Office.




                                                                                RBTURN

I have executed this judgment as follows:




Defendant delivered on                           to                                     at                                     , with a certified copy of this
judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
                             Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 3 of 8 PageID #:386
ILND 2458 (Rev. 08/0212016) Judgment in      a Crimrnal Case
    - Supervised Release
Sheet 3                                                                                                                            Judgment   -   Page 3   of   8

DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER.: 13 CR 328-l

               MANDATORY CONDITTONS OF SUPERVTSED RELEASE PURSUANT TO l8 U.S.C S 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
Life on Count One of the Indictment.

         You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
X         (I   )   you shall not commit another Federal, State, or local crime.
X         (2) you shall not unlawfully possess a controlled substance.
n         (3) you shall attend a public, private, or private nonprofit offender rehabilitation  program that has been approved by the court,               if
                   an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                   domestic violence crime, as defined in g 356t(b).1
n         (4) you shall       register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. $
                   16913).
X      (5) you shallcooperate in the collection of a DNA sample if the collection of such a sample is required by law.
X      (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug tesi within l5 days of release                    on
                   supervised release and at least two periodic tests thereafter, up to I 04 periodic tests for use of a controlled substance during
                   each year ofsupervised release. Ifthe defendant does not test positive after four tests, the probation officer shall suspend
                   future tests. [This mandatory condition may be ameliorated or suspended by the court for any defendant if reliable
                   sentencing information indicates a low risk offuture substance abuse by the defendant.]



     DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C                                                               g 3563(b)            AND
                                    18 u.S.C g 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term of supervised release because such
                             - to the factors set
conditions are reasonably related                   forth in $ 3553(aXl) and (aX2XB)" (C). and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (C). and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
n      (l)            you shall provide financial suppofi ro any dependents iffinancially able.
t]     Q)             you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of 3663(a) or
                                                                                                                              $
                      g 3663A(cXlXA)).

E      (3)            you shall give to the victims of the offense notice pursuant to the provisions of 3555, as follows:
                                                                                                       $
tr     @)             you shall seek, and work conscientiously at, lawfui employment or pursue .orrii"r,tiorrly a course of study or
                      vocational training that will equip you for employment.
tr     (5)            you shall refrain from engaging in a specified ociupation, business, or profession bearing a reasonably direct relationship
                      to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated
                      degree or under stated circumstances; (ifchecked yes, please indicate restriction(s))
tr     (6)            you shall refrain from knowingly meeting or communicating with any person whom you know to be engaged, or
                      planning to be engaged, in criminal activity and from:
                      I   visiting the following rype of places:
                      I   knowingly meeting or communicating with the following persons:
t]     0)             you shall refrain from I any or !          use ofalcohol"(defined as I          having a blood alcohol concentration greater
                      than 0.08; or   f]                    "*".r]rir.
                                              ), or any use of a narcotic drug or other controlled substanci, as defined in $ 102 of the Controlled
                     Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
E      (8)           you shall refiain from posseising a firearm, destruct'ive device, or other dangerous weapon.
n      (9)           n you shall participate, at the iirection of a probation officer, in a substan-ce abuse treatment program, which may
                          include urine testing up to a rnaximum of 104 tests per year.
                     n you shall participate, at the direction of a probation'officer, in a mental health treatment program, which may include
                          the use of prescription medications.
                     n you shall participate, at the direction ofa probation officer, in medical care; (ifchecked yes, please specify: : : .)
tr     (10)          (intermittent confinement): you shallremain in the custody of the Bureau
                                                                                                   of prisons during nights, weekends, or other
                         Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 4 of 8 PageID #:387
ILND 2458 (Rev. 08/02/2016) .ludgment in   a   Criminal   Case
    -
Sheet 3 rsed Release

DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: 13 CR 328-l
                    intervals of time, totaling         [no more than the lesser of one year or the term of imprisonment authorized for the
                    offensel, during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in $
                    3563(bXl0) shallbe imposed only for a violation of a bondition of supervised release in accordance with $ 3583(e)(2)
                    and only when facilities are available) for the following period
n                   (community confinement): you shall reside at, or participate in the program of a community corrections facility
                    (including a facility maintained or under contract to the Bureau ofPrisons) for all or part ofthe term ofsupervised
                    release, for a period of         months.
tr {12)             you shall work in community service          for    lssls as directed by a probation officer.
                                                                    :',,',,;;:::::::


tr (13)             you shall reside in the following place or      area:    , or refrain from residing in a specified place or area:
tr (14)             you shall remain within the.iurisdiction where you are being supervised, unless granted permission to leave by the court
                    or a probation officer.
x         (ls)      you shall report to a probation officer as directed by the court or a probation officer.
x         (   l6)          you shall permit a probation officer to visit you X at any reasonable time or I as specified:
                           I     at home                  Iat work                     Iat school             fl     at a community service location
                            E    other reasonable location specified by  a probation   officer
                    tr you shall permit confiscation of any contraband observed in plain view of the probation officer.
x         (   l7)   you shall notify a probation officer promptly, within 72 hours, of any change in residence, employer, or workplace and,
                    absent constitutional or other legal privilege, answer inquiries by a probation officer.
x         (I   8)   you shall notifu a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
tr        (l   9)   (home confinement): you shall remain at your place of residence for a total of              months during nonworking hours.
                    [This condition may be imposed only as an alternative to incarceration.]
                           Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                           which shall be determined by a probation officer). Electronic monitoring shall ordinarily be used in connection
                           with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                            in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                           whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                            is recommended that home confinement with voice identification be ordered, which will provide for random
                           checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                           appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                           history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                           elsewhere; requires liequent travel inside or outside the district; or is required to work more than 60 hours per
                            week.
                    n You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                            financially able to do so.
                    tr The Coun waives the electronic/location monitoring component of this condition.
tr        (20)      you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
                    the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                    support and maintenance of a child or of a child and the parent with whom the child is living.
u         (21)      (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                    determination on the issue of deportability by the appropriate authority in accordance with the laws underthe
                    Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                    reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                    Secretary of the Department of Homeland Security.
x         (22)      you shall satisfli such other special conditions as ordered below.
tr (23)             (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                    without a watrant, to a search ofyour person and any property, house, residence, vehicle, papers, computer, other
                    electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                    having reasonable suspicion concerning a violation ofa condition ofsupervised release or unlawful conduct by you, and
                    by any probation officer in the lawful discharge ofthe officer's supervision functions (see special conditions section).
u         (24)      Other: Refrain from knowingly communicating with any individuals who are located outside the United States without
                    prior approval of the United States Probation Office, except that this approval requirement will not apply for
                    communication with family members or other individuals whose identity has been previously verified by Probation.
                    Refrain flom knowingly communicating, in any manner, with any persons who are or claim to be involved with acts of
                    violence or advocating for acts ofviolence.

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 35S3(d)
The court imposes those conditions identified by checkmarks below:

During the term ofsupervised release;
                         Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 5 of 8 PageID #:388
ILND 2458 (Rev. 08/02/2016) Judgment in   a   Criminal Case
Sheet 3   -   Supervrsed Release                                                                                              Judgment- Page   5   of8
DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: 13 CR 328-1
tr (l)              if you have not obtained a high school diploma or equivalent, you shallparticipate in a General Educational
                    Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
tr       Q)         you shall participate in an approved job skill+raining program at the direction of a probation officer within the first 60
                    days of placement on supervision.
tr       (3)        you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                    frorn employment, perform at least 20 hours of community service per week atthe direction of the U.S. Probation Office
                    until gainfully employed. The amount of community service shall not exceed hours.
tr       (4)        you shall not maintain employment where you have access to other individual's personal information, including, but not
                    limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
tr       (5)        you shall not incur new credit charges or open additional lines of credit without fhe approval of a probation officer unless
                    you are in compliance with the financial obligations imposed by this judgment.
n        (6)        you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
                    with conditions of supervised release.
tr    O             you shall notify the court of any material change in your economic circumstances that might affect your ability to pay
                    restitution, fines, or special assessments.
tr    (8)           you shall provide documentation to the IRS and pay taxes as required by law.
tr    (9)           you shall pafiicipate in a sex offender treatment program. The specific program and provider will be determined by a
                    probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                    testing. You shall maintain use of all prescribed medications.
                    X You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                             tJnited States Probation Office. You shall consent to the installation of computer monitoring software on all
                             identified computers to which you have access. The software may restrict and/or record any and all activity on the
                             computer, including the capture of keystrokes, application information, Internet use history, email
                             correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                             warn others of the existence of the monitoring software. You shall notremove, tamperwith, reverse engineer, or
                             in any way circumvent the software. You are also to provide Probation with all logins and passwords to the
                             computer. This does not apply to a work computer.
                    X The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                             to satisfaction of other financial obligations imposed by this judgment.
                    X You shall not possess or use any device with access to any onlini computer service at any location (except place
                             of employment) without the prior approval of a probation officer. This includes any Internet service provider,
                             bulletin board system, or any other public or private network or email system.
                    tr You shall not possess any device that could be used for covert photography without the prior approval ofa
                             probation officer.
                    tr You shall not view or possess child pornography. Ifthe treatment provider determines that exposure to other
                             sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                            to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                            detennination, pursuant to l8 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modify the
                            conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                    t] You shall not, without the approval of a probation officer and treatment provider, engage in activities ihat will put
                            you in unsupervised private contact with any person under the age of I 8, or visit locations where children
                            regularly congregate (e.g., Iocations specified in the Sex Offender Registration and Notification Act.)
                   t] This condition does not apply to your family members: ....__ [Namei]
                   n Your employment shall be restricted to the district and diviiil where you reside or are supervised, unless
                            approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                            ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to the
                            community you will pose if employed in a pafticular capacity. You shall not participate in any volunteer activity
                            that may cause you to come into direct contact with children except under circumstances approved in advance by
                            a probation officer and treatment provider.
                   tr You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                            any other financial infornration requested.
                   n You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                            impose restrictions beyond those set forth in this order.
tr   (    l0)      you shall pay any financial pinalty that is imposed by this judgment that remains unpaid at the commencement
                                                                                                                                         of the
                   term of supervised release. Your monthly payment schedule shall be an amount that is at least $              or        oh of
                   your net monthly income, defined as income net of reasonable expenses for basic necessities such as food,
                                                                                                                                    shelter,
                   utilities, insurance, and employment-related expenses.
X    (n)           you shall not enter into any agreement to act as an informer or special agent of a law enforcement
                   pennission of the court.
                                                                                                                           agency without the
                     Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 6 of 8 PageID #:389
ILND 2458 (Rev.   08/021201 6) .ludgment in a   Criminal Case
    - Supervised Release
Sheet 3                                                                                                                 Judgment   -   Page 6   of   8

DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: l3 CR 328-l
tr (12) you shallrepay the United States "buy money" in the amount of $                     which you received during the commission of
                 this offense.
tr (13)          if the probation officer determines that you pose a risk to another person (including an organization or members of the
                 comrnunity), the probation officer may require you to tell the person about the risk, and you must comply with that
                 instruction. Such notification could include advising the person about your record ofarrests and convictions and
                 substance use. The probation officer may contact the person and confirm that you have told the person about the risk.

X     ( I4   )   Other: To inform the Probation Office prior to purchasing a celtular phone or any other device that can access the
                 internet and creating new online accounts, including r*uil, rocial *iaia, instant messaging, chat accounts or services,
                 and allowing the Probation Officer to search and capture evidence of violations from any communication devices,
                 phones, rablets, computers, or whaievei they invent in the next few months or yearsr email accounts, social media
                 accounts or electronic communication accounts wiihin ttre possessior, custody, or conffol of defendant. Any such search
                 must be conducted at reasonable times, Special Condition (9) internet logins and passwords ar home, not work place.
                     Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 7 of 8 PageID #:390
ILND 245B (Rev. 08/02120 I 6) Judgment in    a   Crinrinal Case
Sheet 5 - Criminal Monetary Penalties                                                                                                  Judgment   -   Paee 7 of 8

DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: l3 CR 328-l
                                                     CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                   Assessment                                                     Fine                          Restitution
    Totals                         $   r00                                                        $                             s


!     fne determination of restitution is deferred until                 . An Anended Judgment in (t Criminal Case 1lo zlsc;t will be entered after such
      determination.

!     fne defendant must make restitution (including community restitution) to the following              payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to l8 U.S.C. $ 3664(D, all nonfederal victims must be paid
      before the United States is paid.

      Name of Payee                                               Total Loss*            Restitution Ordered                            Priority or
                                                                                                                                        Percentase




                                                      Totals:

      tr        Restitution amount ordered pursuant to plea agreement $

      tr        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to l8 U.S.C. 3612(f). All of the payment options on Sheet 6 may be
                                                                                       S
                subject to penalties for delinquency and default, pursuant to l8 U.S.C. g 3612(g).

      tr        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                tr       the interest requirement is waived for the

                n        the interest requirement for the                is modified as follows

        n       The defendant's non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
                obligations.


* Findings for the total amount of losses are required
                                                       under Chapters 109A, I10, 110A, and I l3A of Title l8 for offenses committed on or
after September 13, 1994, bur before April23, 1996.
                    Case: 1:13-cr-00328 Document #: 89 Filed: 10/26/17 Page 8 of 8 PageID #:391
ILND 2458 (Rev. 08/02/2016) Judgment in
                                 a Criminal Case
                    Payments
Sheet 6 - Schedule of                                                                        Judgment - Page 8 of 8

DEFENDANT: ABDELLA AHMAD TOUNISI
CASE NUMBER: l3 CR 328-l
                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      X       Lump sum payment of Sl00 due immediately.

               tr        balance due not later   than        , or

               n         balance due in accordance with      n   C,   !    D,   E   E, or     ! f below;or
Btr            Payment to begin immediately (may be combined with               E    C,   !    D, or   n   R   below); or

Ctr           Payment in equal (e.g. weekly, monthly, quarterly) installments of $
              commence (e.g . 30 or 60 days) after the date of this judgment; or
                                                                                                                   over a period   of   @.g., months or years),   to


       tr     Payment in    equal         (e.g. weekly, monthly, quarterly) installments of     $       over a period of                (e.g.. months or ))ears), to
              commence             (e.g., 30 or 60 days) after release    from imprisonment to a term of supervision; or

       tr     Payment during the term of supervised release will commence within           (e.e., 30 or 60 days) after release from imprisonment.
              The cour-t will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

       tr     Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Pederal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

n      Joint and Several

Case   Number                                    Total Amount                       Joint and Several                  Corresponding Payeeo   if
Defendant and Co-Defendant Names                                                    Amount                             Appropriate
(including defendant number)



tr     The defendant shall pay the cost ofprosecution.

t]     The defendant shall pay the following court cost(s):

tr     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
